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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 0:20-cv-61849-RS

 MITCHELL WELLER,
 individually and on behalf of all others
 similarly situated,
                                                                        CLASS ACTION
        Plaintiff,
 vs.
                                                            JURY TRIAL DEMANDED
 ENVISION PHYSICIAN SERVICES, LLC,

       Defendant.
 ______________________________________/

             NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

        Plaintiff Mitchell Weller, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

 hereby voluntarily dismisses the instant action. All claims of Plaintiff, individually, are hereby

 dismissed without prejudice.



 Dated: October 9, 2020

                                              Respectfully submitted,

                                              HIRALDO P.A.

                                              /s/ Manuel S. Hiraldo
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                                              Counsel for Plaintiff




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